     Case 2:21-cv-01398-GMN-EJY     Document 49           Filed 12/18/24   Page 1 of 1




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6                             UNITED STATES DISTRICT COURT

7                                    DISTRICT OF NEVADA
8
                                               ***
9       SHAUNNA L. DODD,                         Case No. 2:21-cv-01398-GMN-EJY

10                                    Petitioner,       Order Granting Extension of Time to File
                                                         Answer to Petition to January 16, 2025
11            v.
12
        JERRY HOWELL, et al.,                                        (ECF No. 48)
13
                                  Respondents.
14

15           Respondents seek an extension of time to answer the remaining claims in
16     Shaunna L. Dodd’s 28 U.S.C. § 2254 Habeas Corpus Petition. (ECF No. 48.) Good
17     cause appearing,
18           IT IS ORDERED that Respondents’ unopposed second Motion for Extension of
19     Time to file an answer to the remaining claims (ECF No. 48) is GRANTED nunc pro
20     tunc. The deadline to answer is extended to January 16, 2025.
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23           DATED: 18 December 2024.

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                                                         GLORIA M. NAVARRO
26                                                       UNITED STATES DISTRICT JUDGE

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